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                              UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA



  IN RE: FACEBOOK, INC. CONSUMER                    MDL No. 2843

  PRIVACY USER PROFILE LITIGATION                  Case No. 18-md-02843-VC


  This document relates to:                        PRETRIAL ORDER NO. 36: ORDER
                                                   GRANTING IN PART AND DENYING
  ALL ACTIONS                                      IN PART MOTION TO COMPEL
                                                   DISCOVERY
                                                   Re: Dkt. No. 374


       The plaintiffs’ motion to compel discovery dating back to 2007 (rather than 2009, as

Facebook proposes) is granted. It is highly plausible that documents dating back to 2007 could

be probative of Facebook’s intent regarding the future handling of users’ private information.

However, given the anticipated volume of the document productions, it appears unreasonable to

require Facebook to produce privilege logs 30 days following production. Therefore, this aspect

of the motion to compel is denied. Because it appears likely that the Court will ultimately be

called upon to adjudicate disputes about whether Facebook has properly withheld documents on

privilege grounds, and because those disputes could be important to the outcome of the case, the

parties are directed to confer further and devise a system that allows Facebook sufficient time to

prepare meaningful privilege logs without unduly delaying the proceedings.

       IT IS SO ORDERED.

Dated: March 3, 2020
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
